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                    UNITED STATES COURT OF APPEALS                          FILED
                            FOR THE NINTH CIRCUIT                           DEC 18 2024
                                                                        MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
DONALD E. MORISKY,                                  No. 24-6568
                                                    D.C. No.
             Plaintiff - Appellee,                  2:21-cv-01301-RSM
                                                    Western District of Washington,
 v.                                                 Seattle
MMAS RESEARCH, LLC, a Washington                    ORDER
limited liability company; et al.,

             Defendants - Appellants.

Before: S.R. THOMAS, SILVERMAN, and TALLMAN, Circuit Judges.

      The court has received the responses to the October 30, 2024 order. The

court lacks jurisdiction over this appeal, because “orders imposing sanctions under

Rule 37 are interlocutory and may not be appealed until entry of final judgment.”

United States v. Westinghouse Elec. Corp., 648 F.2d 642, 651 (9th Cir. 1981),

overruled on other grounds by Fed. Trade Comm’n v. Actavis, 570 U.S. 136

(2013); see also Cunningham v. Hamilton County, 527 U.S. 198, 203-10 (1999)

(Rule 37 sanctions order not final decision under 28 U.S.C. § 1291 or immediately

appealable as collateral order).

      DISMISSED.
